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~AO 245B      (Rev. 06/05) Judgment in a Criminal Case
                                                                   #558
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                       SOUTHERN                                   District of                                  ILLINOIS

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                  RODNEY A. MESSIC                                        Case Number:           4:07CR40037-001-JPG

                                                                          USM Number:            07355-025

                                                                           Gordon Freese
                                                                          Defendant's Attorney
THE DEFENDANT:
litpleaded guilty to count(s)        1, 2, 4 and 5 of the Superseding Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




 18 U.S.C. 924(c)(1 )(A)(ii        Brandishing a Firearm During & in Relation to a Crime of                  7/20/2006                     25



       The defendant is sentenced as provided in pages 2 through              11          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) ------------ Dis                                       o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan~e of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material cnanges in econOIDlC circumstances.

                                                                           10/10/2008
                                                                          Date ofImposition of Judgment




                                                                           J. Phil Gilbert                            , .District· Judge
                                                                          Name of Judge                               Title of Judge


                                                                                 tP~                         /7 (~r'
                                                                                                               f
                                                                          Date
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AO 245B   (Rev. 06/05) Judgment in a Criminal Case
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DEFENDANT: RODNEY A. MESSIC
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                                         ADDITIONAL COUNTS OF CONVICTION
                                                                                   Offense Ended            Count


                                of Violence
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                                                                  #560
AD 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment

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DEFENDANT: RODNEY A. MESSIC
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                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:

 499 months (115 months on Counts 1 and 4 to run concurrent with each other.. 84 months on Count 2 to run consecutive to
 Counts 1 and 4 & 300 months on Count 5 to run consecutive to Count 2 of the Superseding Indictment for a total of 499
 months)


     o The court makes the following recommendations to the Bureau of Prisons:



     r;/ The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at _ _ _ _ _ _ _ _ _ _ 0 a.m. o p.rn. on
       o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.rn. on
          o     as notified by the United States Marshal.
          o     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

at                                                     , with a certified copy ofthis judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Release
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                                                                                                                              4                11
DEFENDANT: RODNEY A. MESSIC
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 5 years on Counts 1, 2, 4 & 5 of the Superseding Indictment. All Counts to run concurrent with each other.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not conunit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
o The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
o The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sneet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do sooy the probation officer;
 10)      the defendant shalll'ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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          (Rev. 06/05) Judgment in a Criminal Case
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          Sheet 3C - Supervised Release                        #562
                                                                                           Judgment-Page    5    of      11
DEFENDANT: RODNEY A. MESSIC
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X If the defendant is unable to pay restitution immediately, payment is due during imprisonment. While confined, the
 defendant shall pay restitution at the rate of $25.00 per quarter or 50 percent from prison wages if working in UNICOR.
 The defendant is required to notify the Court and the Attorney General of any material change in his economic
 circumstances that would affect his ability to pay restitution.
  Restitution is to be paid joint and several with codefendants Jacob L. Messic, 0754:4:07CF40037-002 and John Brown,
 07544:07CF40037-003. The victims recovery is limited to the amount of their loss and the defendant's liability for
 restitution ceases if and when the victims receive full restitution.
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.
 X The defendant shall pay any financial penalty that is imposed by this jUdgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay restitution in installments of $50.00 or ten
 percent of his net monthly income, whichever is greater over a period of 60 months, to commence 30 days after release
 from imprisonment to a term of supervision.
 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.
 X The defendant shall apply all monies received from income tax refunds, lottery winnings, jUdgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.
 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or participation in a residential treatment facility. Any
 participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be sUbject to a
 search pursuant to this condition.
 X Due to his history of bipolar disorder, anxiety, and depression, the defendant shall participate in a program of mental
 health treatment, as directed by the probation officer, until such time as the defendant is released from the program by the
 probation officer..
AO 2458
              Case 4:07-cr-40037-JPG
          (Rev. 06/05) Judgment in a Criminal Case
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          Sheet 5 - Criminal Monetary Penalties                     #563
                                                                                                                              Judgment - Page      6   of
                                                                                                                                                             11
DEFENDANT: RODNEY A. MESSIC
CASE NUMBER: 4:07CR40037-001-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                            Fine                       Restitution
TOTALS            $ 400.00                                                                              $ 0.00                   $ 49,298.00



o The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned paYlllent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.




 Bane Insure                                                                                                      $5,380.00      $5,380.00


  Harris Bank                                                                                                     $5,711.00      $5,711.00




TOTALS                               $                   4;,. ;,9. :.;:,2;. .9. .;,.8. . ;. 0. .;. .0                    49,298.00
                                                                                                             $
                                                                                                                 '--------'----
o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a [me of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 36l2(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

lit The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for the       o fine r;t restitution.
          the interest requirement for the           o fine o restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, 11OA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 2458       Case
           (Rev. 06/05) 4:07-cr-40037-JPG
                        Judgment in a Criminal Case       Document 169 Filed 10/17/08                   Page 7 of 7          Page ID
           Sheet 6 - Schedule of Payments                           #564
                                                                                                           Judgment - Page        7         of   11
                                                                                                                             _....:....--
DEFENDANT: RODNEY A. MESSIC
CASE NUMBER: 4:07CR40037-001-JPG

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     ~ Lump sum payment of $                                   due immediately, balance due

           D     not later than                                     ,or
           D     in accordance          D    C,       D    D,   D     E, or    lit F below; or
B     D    Payment to begin immediately (may be combined with                 DC,      D D, or     D F below); or

C     D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ~ Special instructions regarding the payment of criminal monetary penalties:
            X If the defendant is unable to pay restitution immediately, payment is due during imprisonment. While confined,
            the defendant shall pay restitution at the rate of $25.00 per quarter or 50 percent from prison wages if working in
            UNICOR. The defendant is required to notify the Court and the Attorney General of any material change in his
            economic circumstances that would affect his ability to pay restitution.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



lit Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
      Restitution is to be paid joint and several with codefendants Jacob L. Messic, 0754:4:07CF40037-002 and John Brown,
      07544:07CF40037-003. The victims recovery is limited to the amount of their loss and the defendant's liability for
      restitution ceases if and when the victims receive full restitution.

D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Paytp.ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
